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             CIVIL CAUSE FOR ORDER TO SHOW CAUSE

BEFORE: JOAN M. AZRACK, U.S.D.J.
DATE: 5/16/2022      TIME: 12:00 PM                        TIME IN COURT: 15 Mins.
                                                                                  FILED
CASE:          Hernandez et al v. Rosso Uptown, Ltd. et al                        CLERK
               2:20-cv-04026-JMA-SIL
                                                                            5/16/2022 2:06 pm
APPEARANCES:          For Plaintiff:   Steven Moser                       U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF NEW YORK
                      For Defendants: No appearance                       LONG ISLAND OFFICE

FTR: 12:09-12:11

☒       Case called.
☒       Counsel present for all sides.
☐       Briefing schedule set.
                Moving papers served by:
                Response:
                Reply:
                • Moving party is responsible for filing the fully briefed motion on ECF and
                    providing courtesy copies to Chambers.
☐       Case to be referred to the Magistrate Judge for
☐       Jury selection and trial scheduled for
☐       A further telephone conference is scheduled for and will be conducted through the
        AT&T conference center. Parties shall dial 1-877-873-8017 and enter access code
        4785432# at the prompt.
☒       Other: Plaintiff to file motion for default as to the corporate defendant.
